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     In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                         No. 15-807V
                              Originally Filed: October 14, 2016
                         Refiled in Redacted Form: December 2, 2016

* * * * * * * * * * * * * * * *
                      ,       *                             UNPUBLISHED
                              *
          Petitioner,         *                             Special Master Hamilton-Fieldman
                              *
v.                            *                             Joint Stipulation on Damages;
                              *                             Influenza (“Flu”) Vaccine; Guillain
SECRETARY OF HEALTH           *                             Barré Syndrome (“GBS”).
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
* * * * * * * * * * * * * * * *

Carol L. Gallagher, Carol L. Gallagher, Esq., LLC, for Petitioner.
Darryl R. Wishard, United States Department of Justice, Washington, DC, for Respondent.

                                          DECISION 1

        On July 29, 2015,                        (“Petitioner”) petitioned for compensation under
the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (2012).
Petitioner alleged that the administration of the Influenza (“Flu”) vaccine, on September 18,
2013, caused her to develop Guillain-Barré Syndrome (“GBS”).

       On October 11, 2016, the parties filed a stipulation stating that a decision should be
entered awarding compensation. Respondent denies that the Flu vaccine caused Petitioner’s
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  When this decision was originally filed the undersigned advised her intent to post it on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). In accordance with Vaccine Rule 18(b), Petitioner filed a timely motion
to redact certain information. This decision is being reissued with the redaction of Petitioner’s
name. Except for those changes and this footnote, no other substantive changes have been made.
This decision will be posted on the court’s website with no further opportunity to move for
redaction.

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alleged GBS or any other injury. Stipulation at ¶ 6, filed Oct. 11, 2016. Nevertheless, the parties
agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

    1) A lump sum payment of $2,978,711.73, which amount represents compensation for
       first year life care expenses ($24,251.49), lost earnings ($2,718,701.03), pain and
       suffering ($225,000.00), and past unreimburseable expenses ($10,759.21), in the
       form of a check payable to Petitioner; and

    2) An amount sufficient to purchase an annuity contract described in paragraph 10 of
       the stipulation, to be paid to a life insurance company meeting the criteria described
       in paragraph 9 of the stipulation, from which the annuity will be purchased.

Stipulation at ¶ 8, filed Oct. 11, 2016. These amounts represent compensation for all damages
that would be available under section 15(a) of the Act. Id. The undersigned approves the
requested amounts for Petitioner’s compensation. Accordingly, an award should be made
consistent with the stipulation.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 2

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




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  Entry of judgment is expedited by the parties’ joint filing of notice renouncing the right to seek
review. Vaccine Rule 11(a).

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